            Case 1:13-vv-00848-UNJ Document 27 Filed 11/21/14 Page 1 of 9




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 13-848V
                                          (Not to be published)

*****************************
                            *
DEBBIE HARRIS,              *                                             Filed: October 30, 2014
                            *
                Petitioner, *                                             Entitlement; Off-Table Injury;
                            *                                             Conceded; Decision by Proffer;
          v.                *                                             Damages; Trivalent Influenza (“flu”)
                            *                                             Vaccine; Shoulder Injury Related
                            *                                             to Vaccine Administration
SECRETARY OF HEALTH AND     *                                             (“SIRVA”)
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*****************************

Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner.

Lara Englund, U.S. Dep’t of Justice, Washington, D.C., for Respondent.

           DECISION FINDING ENTITLEMENT AND AWARDING DAMAGES1

       On October 29, 2013, Debbie Harris filed a petition seeking compensation under the
National Vaccine Injury Compensation Program.2 Petitioner alleged that she suffered from a
shoulder injury related to vaccine administration (“SIRVA”) as a result of receiving the trivalent
influenza (“flu”) vaccine on November 18, 2011.



1
  Because this decision contains a reasoned explanation for my action in this case, it will be posted on the website of
the United States Court of Federal Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
§ 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the inclusion of certain kinds of confidential information. To
do so, Vaccine Rule 18(b) provides that each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program comprises Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (codified as amended, 42 U.S.C.A. ' 300aa-10 – 34 (2006))
[hereinafter “Vaccine Act” or “the Act”]. Individual sections references hereafter will be to ' 300aa of the Act.
             Case 1:13-vv-00848-UNJ Document 27 Filed 11/21/14 Page 2 of 9



        In her Rule 4(c) Report, filed on January 23, 2014, Respondent conceded that Petitioner’s
claim was compensable under the Act. Respondent specifically stated that the Division of
Vaccine Injury Compensation (“DVIC”), Department of Health and Human Services, had
reviewed the facts of this case and had concluded that Petitioner’s injury was consistent with
SIRVA. Accordingly, DVIC agreed that Petitioner’s claim satisfied the Althen requirements and
that she had proven her injury was caused-in-fact by a vaccination. Respondent indicated that no
other causes for Petitioner’s condition had been identified and the statutory six month sequelae
requirement had been satisfied. Therefore, the Rule 4(c) Report indicated that once Petitioner
established that no one had previously collected an award or settlement of civil damages on her
behalf, she would have satisfied the legal prerequisites for compensation under the Act, and
would be entitled to an award of damages.

        In view of Respondent’s concession, on January 24, 2014, I issued an order indicating
that this case was ready for the damages phase.

        On October 29, 2014, Respondent filed a proffer recommending an award of
compensation to Petitioner in accordance with the life care items of compensation as illustrated
by the spreadsheet analysis attached to the proffer as Tab A (a copy of which is also attached
here). I have reviewed the file, and based upon that review, I conclude that the Respondent’s
proffer was reasonable. I therefore adopt it as my decision in awarding damages on the terms set
forth therein.

        The proffer awards Petitioner:

              A lump sum of $207,030.12 representing the discounted present value of life care
               expenses expected to be occurred over Debbie Harris’s life ($69,717.83), pain and
               suffering ($135,000.00), and past unreimbursable expenses ($2,312.29), in the form
               of a check payable to Petitioner, Debbie Harris. This amount accounts for all
               elements of compensation under 42 U.S.C. § 300aa-15(a) to which Petitioner would
               be entitled.

Proffer § 2.

        Based on my own review of the record (See § 300aa-13(a)(1); 42 C.F.R. § 100.3(a)(I), I
find that Petitioner is entitled to compensation for an injury that was caused-in-fact by a covered
vaccine. 42 C.F.R. §§ 100.3(a)(XIV), 100.3(b)(2). I therefore approve a Vaccine Program award
in the requested amounts set forth above to be made to Petitioner. In the absence of a motion for
review filed pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment
herewith.3



3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or
separately) a notice renouncing their right to seek review.

                                                      2
 Case 1:13-vv-00848-UNJ Document 27 Filed 11/21/14 Page 3 of 9



IT IS SO ORDERED.

                                      /s/ Brian H. Corcoran
                                         Brian H. Corcoran
                                         Special Master




                               3
            Case 1:13-vv-00848-UNJ Document 27 Filed 11/21/14 Page 4 of 9



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

DEBBIE HARRIS,                                       )
                                                     )
                       Petitioner,                   )
                                                     )
       v.                                            ) No. 13-848V
                                                     ) Special Master Brian H. Corcoran
SECRETARY OF                                         )
HEALTH AND HUMAN SERVICES,                           )
                                                     )
                       Respondent.                   )
                                                     )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I. Items of Compensation

       A.       Life Care Items

       Respondent engaged life care planner Jacqueline Morris, RN, BSN, CRRN, CNLCP, and

petitioner engaged Maureen Clancy, RN, BSN, CLCP, to provide an estimation of petitioner’s

future vaccine-injury related needs. For the purposes of this proffer, the term “vaccine related”

is as described in respondent’s Rule 4(c) Report filed January 23, 2014. All life care items of

compensation are supported by the evidence and are illustrated by the spreadsheet analysis

entitled Appendix A: Discounted Present Value of Life Care Items of Compensation for Debbie

Harris, attached hereto as Tab A. 1 Respondent proffers that Debbie Harris should be awarded all

life care items of compensation as illustrated by the spreadsheet analysis attached at Tab A.

Petitioner agrees.




1
 The chart at Tab A illustrates projected annual life care expenses, discounted over life
expectancy at the net discount rates indicated.
               Case 1:13-vv-00848-UNJ Document 27 Filed 11/21/14 Page 5 of 9



          B.       Lost Earnings

          Petitioner has not submitted a claim for lost earnings and has not submitted any evidence

that would demonstrate that she is entitled to compensation for past or future lost earnings.

Thus, petitioner is not entitled to an award for lost earnings. Petitioner agrees.

          C.       Pain and Suffering

          Respondent proffers that Debbie Harris should be awarded $135,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

          D.       Past Unreimbursable Expenses

          Evidence supplied by Debbie Harris documents her expenditure of past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that Debbie Harris should be

awarded past unreimbursable expenses in the amount of $2,312.29. Petitioner agrees.

          E.       Medicaid Lien

          Petitioner represents that there are no Medicaid liens outstanding against Debbie Harris.

II. Form of the Award

          The parties recommend that the compensation provided to Debbie Harris should be made

through a lump sum payment as described below, and request that the special master’s decision

and the Court’s judgment award the following: 2

          A. A lump sum payment of $207,030.12, representing the discounted present value of

                life care expenses expected to be incurred over Debbie Harris’s life ($69,717.83),



2
  Should petitioner die prior to entry of judgment, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering, and the parties reserve the
right to move the Court for appropriate relief.
                                                     2
        Case 1:13-vv-00848-UNJ Document 27 Filed 11/21/14 Page 6 of 9



           pain and suffering ($135,000.00), and past unreimbursable expenses ($2,312.29), in

           the form of a check payable to petitioner, Debbie Harris.

III. Summary of Recommended Payments Following Judgment

      A.      Lump sum paid to petitioner, Debbie Harris:                        $207,030.12

                                             Respectfully submitted,

                                             JOYCE R. BRANDA
                                             Acting Assistant Attorney General

                                             RUPA BHATTACHARYYA
                                             Director
                                             Torts Branch, Civil Division

                                             VINCENT J. MATANOSKI
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             ALTHEA W. DAVIS
                                             Senior Trial Counsel
                                             Torts Branch, Civil Division

                                             s/ LARA A. ENGLUND
                                             LARA A. ENGLUND
                                             Trial Attorney
                                             Torts Branch, Civil Division
                                             U.S. Department of Justice
                                             P.O. Box 146
                                             Benjamin Franklin Station
                                             Washington, D.C. 20044-0146
                                             Tel: (202) 307-3013

DATED: October 30, 2014




                                                3
                                     Case 1:13-vv-00848-UNJ Document 27 Filed 11/21/14 Page 7 of 9
                         APPENDIX A: DISCOUNTED PRESENT VALUE OF LIFE CARE ITEMS OF COMPENSATION FOR DEBBIE HARRIS
                          Petitioner: Debbie Harris, D.O.B. 12/09/1960
                          Total Discounted Present Value of Life Care Items: $69,717.83
                          Annual Amounts Follow Anniversary Dates of Judgment
                          and discounted at 2% NDR for non-medical and 1% NDR for medical items


                                    Medicare Medicare
       Year from          Group     Part A &  Part B                 Medicare                 Pain                                                                          Adap.
Year   Judgment    Age    Health       B     Deductible    Medigap    Part D  Orthopedic    Specialist    MRI      Motrin IB   PT Eval    OT Eval        Grab Bars          Equip
                           1%         1%        1%           1%        1%         1%          1%          1%         2%          2%         2%              2%               2%
                                                                                   *                                              *
2014      0        54        -          -           -          -           -     118.00            -         -        10.49     255.00            -                -            32.12
2015      1        55        -          -           -          -           -          -            -         -        10.28         -             -                -             3.15
2016      2        56        -          -           -          -           -          -            -         -        10.08         -             -                -             3.09
2017      3        57        -          -           -          -           -     114.53            -         -         9.88     240.29            -                -             3.02
2018       4       58        -          -           -          -           -          -            -         -         9.69         -             -                -             2.97
2019       5       59        -          -           -          -           -          -            -      891.52       9.50         -             -                -             2.91
2020      6        60        -          -           -          -           -     111.16            -         -         9.31     226.43            -                -             2.85
2021       7       61        -          -           -          -           -          -            -         -         9.13         -             -                -             2.79
2022       8       62        -          -           -          -           -          -            -         -         8.95         -             -                -             2.74
2023       9       63        -          -           -          -           -     107.89            -         -         8.78     213.37            -                -             2.69
2024      10       64        -          -           -          -           -          -            -         -         8.61         -             -                -             2.63
2025      11       65        -          -        131.76        -           -          -            -         -         8.44         -             -                -             2.58
2026      12       66        -          -        130.46        -           -       20.94           -         -         8.27      40.21            -                -             2.53
2027      13       67        -          -        129.16        -           -         6.92          -         -         8.11      13.14            -                -             2.48
2028      14       68        -          -        127.88        -           -         6.85          -         -         7.95      12.88            -                -             2.43
2029      15       69        -          -        126.62        -           -         6.78          -         -         7.79      12.63            -                -             2.39
2030      16       70        -          -        125.36        -           -         6.71          -         -         7.64      12.38            -                -             2.34
2031      17       71        -          -        124.12        -           -         6.65          -         -         7.49      12.14            -                -             2.29
2032      18       72        -          -        122.89        -           -         6.58          -         -         7.34      11.90            -                -             2.25
2033      19       73        -          -        121.68        -           -         6.51          -         -         7.20      11.67            -                -             2.20
2034      20       74        -          -        120.47        -           -         6.45          -         -         7.06      11.44            -                -             2.16
2035      21       75        -          -        119.28        -           -         6.39          -         -         6.92      11.22            -                -             2.12
2036      22       76        -          -        118.10        -           -         6.32          -         -         6.79      11.00            -                -             2.08
2037      23       77        -          -        116.93        -           -         6.26          -         -         6.65      10.78            -                -             2.04
2038      24       78        -          -        115.77        -           -         6.20          -         -         6.52      10.57            -                -             2.00
2039      25       79        -          -        114.63        -           -         6.14          -         -         6.39      10.36            -                -             1.96
2040      26       80        -          -        113.49        -           -         6.08          -         -         6.27      10.16            -                -             1.92
2041      27       81        -          -        112.37        -           -         6.02          -         -         6.15       9.96            -                -             1.88
2042      28       82        -          -        111.25        -           -         5.96          -         -         6.03       9.76            -                -             1.84
2043      29       83        -          -        110.15        -           -         5.90          -         -         5.91       9.57            -                -             1.81

                             0.00       0.00    2,292.37      0.00        0.00     581.24          0.00   891.52     239.62    1,166.86          0.00             0.00      102.26




                                                                                                                                    Harris RESP Present Value Analysis 102214
                                     Case 1:13-vv-00848-UNJ Document 27 Filed 11/21/14 Page 8 of 9
                         APPENDIX A: DISCOUNTED PRESENT VALUE OF LIFE CARE ITEMS OF COMPENSATION FOR DEBBIE HARRIS
                          Petitioner: Debbie Harris, D.O.B. 12/09/1960
                          Total Discounted Present Value of Life Care Items: $69,717.83
                          Annual Amounts Follow Anniversary Dates of Judgment
                          and discounted at 2% NDR for non-medical and 1% NDR for medical items

                                                                    Home
                                                                    maker/                                                              Mileage:        Mileage:
       Year from          Computer    Step      Rubber             Personal                 Snow                            Lawn         Ortho-           Pain
Year   Judgment    Age     Equip      Stool    Bath Mat Heat Pad     Care      Handyman    Removal Car Wash Tree Maint      mower        pedic          Specialist
                            2%         2%        2%       2%          2%          2%         2%       2%       2%            2%            2%              2%

2014       0       54       400.00    18.97        -         -      2,160.00        -       416.00     125.00     220.00     314.14           1.10                -
2015       1       55          -       1.86        -         -      2,117.65        -       407.84     122.55     215.69        -             0.36                -
2016       2       56          -       1.83        -         -      2,076.12        -       399.85     120.15     211.46        -             0.36                -
2017       3       57          -       1.79        -         -      2,035.42        -       392.01     117.79     207.31        -             0.35                -
2018       4       58          -       1.76        -         -      1,995.51        -       384.32     115.48     203.25        -             0.34                -
2019       5       59          -       1.72        -         -      1,956.38        -       376.78     113.22     199.26     284.53           0.34                -
2020       6       60       177.59     1.69        -         -      1,918.02        -       369.40     111.00     195.35        -             0.33                -
2021       7       61          -       1.65        -         -      1,880.41        -       362.15     108.82     191.52        -             0.32                -
2022       8       62          -       1.62        -         -      1,843.54        -       355.05     106.69     187.77        -             0.32                -
2023       9       63          -       1.59        -         -      1,807.39        -       348.09     104.59     184.09        -             0.31                -
2024      10       64          -       1.56        -         -      1,771.95        -       341.26     102.54     180.48     257.70           0.30                -
2025      11       65          -       1.53        -         -      1,881.98        -       334.57     100.53     176.94        -             0.30                -
2026      12       66          -       1.50        -         -      1,845.07        -       328.01      98.56     173.47        -             0.29                -
2027      13       67          -       1.47        -         -      1,808.90        -       321.58      96.63     170.07        -             0.29                -
2028      14       68          -       1.44        -         -      1,773.43        -       315.28      94.73     166.73        -             0.28                -
2029      15       69          -       1.41        -         -      1,738.65        -       309.09      92.88     163.46        -             0.27                -
2030      16       70          -       1.38        -         -      1,704.56        -       303.03      91.06     160.26        -             0.27                -
2031      17       71          -       1.36        -         -      1,671.14        -          -          -          -          -             0.26                -
2032      18       72          -       1.33        -         -      1,638.37        -          -          -          -          -             0.26                -
2033      19       73          -       1.30        -         -      1,606.25        -          -          -          -          -             0.25                -
2034      20       74          -       1.28        -         -      1,574.75        -          -          -          -          -             0.25                -
2035      21       75          -       1.25        -         -      1,543.88        -          -          -          -          -             0.24                -
2036      22       76          -       1.23        -         -      1,513.60        -          -          -          -          -             0.24                -
2037      23       77          -       1.20        -         -      1,483.92        -          -          -          -          -             0.23                -
2038      24       78          -       1.18        -         -      1,454.83        -          -          -          -          -             0.23                -
2039      25       79          -       1.16        -         -      1,426.30        -          -          -          -          -             0.23                -
2040      26       80          -       1.14        -         -      1,398.34        -          -          -          -          -             0.22                -
2041      27       81          -       1.11        -         -      1,370.92        -          -          -          -          -             0.22                -
2042      28       82          -       1.09        -         -      1,344.04        -          -          -          -          -             0.21                -
2043      29       83          -       1.07        -         -      1,317.68        -          -          -          -          -             0.21                -

                            577.59     60.47       0.00     0.00   51,659.00        0.00   6,064.31   1,822.22   3,207.11    856.37            9.18               0.00




                                                                                                                              Harris RESP Present Value Analysis 102214
                                     Case 1:13-vv-00848-UNJ Document 27 Filed 11/21/14 Page 9 of 9
                         APPENDIX A: DISCOUNTED PRESENT VALUE OF LIFE CARE ITEMS OF COMPENSATION FOR DEBBIE HARRIS
                          Petitioner: Debbie Harris, D.O.B. 12/09/1960
                          Total Discounted Present Value of Life Care Items: $69,717.83
                          Annual Amounts Follow Anniversary Dates of Judgment
                          and discounted at 2% NDR for non-medical and 1% NDR for medical items



       Year from          Mileage:   Mileage:   Mileage:     Mileage:   Mileage:
Year   Judgment    Age      MRI         PT         OT       Counselor    YMCA      Car Mods    Annual Total
                             2%         2%         2%           2%         2%         2%

2014       0       54         -         7.51         -            -         -         22.95       4,101.28
2015       1       55         -         2.45         -            -         -          4.50       2,886.33
2016       2       56         -         2.40         -            -         -          4.41       2,829.75
2017       3       57         -         2.36         -            -         -          4.33       3,129.08
2018       4       58         -         2.31         -            -         -          4.24       2,719.87
2019       5       59        2.37       2.26         -            -         -          4.16       3,844.95
2020       6       60         -         2.22         -            -         -          4.08       3,129.43
2021       7       61         -         2.18         -            -         -          4.00       2,562.97
2022       8       62         -         2.13         -            -         -          3.92       2,512.73
2023       9       63         -         2.09         -            -         -          3.84       2,784.72
2024      10       64         -         2.05         -            -         -          3.77       2,672.85
2025      11       65         -         2.01         -            -         -          3.69       2,644.33
2026      12       66         -         1.97         -            -         -          3.62       2,654.90
2027      13       67         -         1.93         -            -         -          3.55       2,564.23
2028      14       68         -         1.89         -            -         -          3.48       2,515.25
2029      15       69         -         1.86         -            -         -          3.41       2,467.24
2030      16       70         -         1.82         -            -         -          3.34       2,420.15
2031      17       71         -         1.79         -            -         -          3.28       1,830.52
2032      18       72         -         1.75         -            -         -          3.21       1,795.88
2033      19       73         -         1.72         -            -         -          3.15       1,761.93
2034      20       74         -         1.68         -            -         -          3.09       1,728.63
2035      21       75         -         1.65         -            -         -          3.03       1,695.98
2036      22       76         -         1.62         -            -         -          2.97       1,663.95
2037      23       77         -         1.59         -            -         -          2.91       1,632.51
2038      24       78         -         1.55         -            -         -          2.85       1,601.70
2039      25       79         -         1.52         -            -         -          2.80       1,571.49
2040      26       80         -         1.49         -            -         -          2.74       1,541.85
2041      27       81         -         1.46         -            -         -          2.69       1,512.78
2042      28       82         -         1.44         -            -         -          2.64       1,484.26
2043      29       83         -         1.41         -            -         -          2.58       1,456.29

                              2.37      62.11        0.00        0.00       0.00      123.23      69,717.83




                                                                                                              Harris RESP Present Value Analysis 102214
